       Case 1:23-cr-00229-CJN          Document 97       Filed 01/25/25      Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                v.                           :      Case No. 23-cr-229 (CJN)
                                             :
TAYLOR FRANKLIN TARANTO,                     :
                                             :
                      Defendant.             :


                     UNITED STATES’ RESPONSE TO THE COURT

       The United States of America respectfully responds to the Court’s January 25, 2025, order

seeking the government’s views on how to proceed with this case. The government has filed a

motion to dismiss with prejudice Counts Seven, Eight, Nine, Ten, and Eleven of the Superseding

Indictment (ECF No. 45), citing the Executive Order dated January 20, 2025, granting pardons for

offenses related to the events of January 6, 2021, at the U.S. Capitol. A motion to dismiss Count

Seven (ECF No. 84), is pending before the Court. The government will continue prosecuting the

charges unrelated to January 6 and intends to proceed with the trial that is scheduled to begin on

May 12, 2025.

                                             Respectfully submitted,

                                             EDWARD R. MARTIN, JR.
                                             United States Attorney
                                             D.C. Bar Number 481866


                                     By:     /s/ Carlos A. Valdivia
                                             Carlos A. Valdivia
                                             DC Bar No. 1019242
                                             Samuel White
                                             NC Bar No. 44908
                                             Assistant United States Attorneys
                                             601 D Street NW
                                             Washington, D.C. 20530
                                             Carlos.Valdivia@usdoj.gov
                                             (202) 252-7508
